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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA GENERAL ENERGY                            )
COMPANY, LLC,                                          )
     Plaintiff                                         )
                                                       )       C.A.No. 14-209ERIE
vs.                                                    )
                                                       )
GRANT TOWNSHIP,                                        )       Magistrate Judge Baxter
    Defendant.                                         )




                                  MEMORANDUM OPINION
                                          1
Magistrate Judge Susan Paradise Baxter



        Plaintiff Pennsylvania General Energy Company, LLC, ("PGE") filed this action

challenging the constitutionality, validity and enforceability of an ordinance adopted by Grant

Township that established a so-called Community Bill of Rights. Plaintiff seeks injunctive and

declaratory relief, as well as damages, against Defendant Grant Township on the grounds that the

Ordinance purports to strip Plaintiff of its constitutional rights. Additionally, Plaintiff contends

the Ordinance is in direct conflict with a number of Pennsylvania statutes and is therefore

preempted. Defendant Grant Township has filed a counterclaim alleging that by challenging the

Ordinance, PGE is violating the inalienable rights of the people of its Township to "local

community self government." Presently before this Court are the cross motions for judgment on

the pleadings, which have been fully briefed.

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  This civil action was originally assigned to District Judge Frederick J. Motz and then assigned
to District Judge Arthur J. Schwab for settlement purposes. Thereafter, in accordance with the
provisions of28 U.S.C. § 636(c)(l), the parties voluntarily consented to having a United States
Magistrate Judge conduct proceedings in this case, including the entry of a final judgment.
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       PlaintiffPGE is a Pennsylvania limited liability company with offices in Warren,

Pennsylvania. ECF No. 5, Amended Complaint,~ 1. PGE is in the business of exploration and

development of oil and gas. Id. PGE's exploration and development activities include drilling

and operating oil and natural gas wells and managing brine and produced fluids generated from

operating wells. Id. at~ 18. The operation of oil and gas wells unavoidably requires engaging in

the activity of "disposing of waste from oi I and gas extraction" since any producing hydrocarbon

well produces oil and gas materials, such as production brine, which must be stored at the well

site temporarily until they are removed by the well operator. Id.      at~   28.

        In 1997, Pennsylvania General Energy Corp., PGE 's predecessor in interest, put into

production a deep gas well in Grant Township on property known as the Vanity Farm pursuant t

Well Permit No. 37-063-31807-00-00 (hereinafter referred to as the "Vanity Well") issued by the

Pennsylvania Department of Environmental Protection. Id.         at~   19. PGE currently has tanks

located on the Vanity Well site used for the storage of oil and gas materials. Id.    at~   20. PGE

intends to use the Vanity Well to inject produced fluids from its other oil and gas development

operations. Id.   at~   26. PGE operates seven other currently producing conventional hydrocarbon

wells in Grant Township, all of which have appropriate active DEP permits. Id.        at~   27.

       Defendant Grant Township, a Second Class Township located in Indiana County,

Pennsylvania (Id.   at~   2), adopted an Ordinance on June 3, 2014, that bears a title reading an

ordinance "establishing a Community Bill of Rights for the people of Grant Township, Indiana

County, Pennsylvania, which prohibits activities and projects that would violate the Bill of

Rights and which provides for enforcement of the Bill of Rights" (hereinafter, the "Community

Bill of Rights Ordinance" or "Ordinance"). Id.     at~   7. The Ordinance lays out the framers' beliefs

that corporations should not have more rights than the people of its community and that the

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people have the right to regulate all activities pursuant to a right of local self government. ECF

No. 5-1, page 1. 2 The Ordinance also enumerates "legal" rights of the people, including self

government, a clean and sustainable environment and a right of enforcement, among others. ECF

No.5- 1, page 2. Specific prohibitions under the Ordinance, including prohibiting the right to

challenge it in the courts, are enumerated in the remaining sections of the Ordinance. ECF No. 5-

1.



          Standard of Review for Judgment on the Pleadings pursuant to Federal Rule 12(c)

          Federal Rule of Civil Procedure 12(c) provides that "after the pleadings are closed--but

early enough not to delay trial--a party may move for judgment on the pleadings." Judgment on

the pleadings is appropriate only when the movant '"clearly establishes that no material issue of

fact remains to be resolved and that he is entitled to judgment as a matter of law."' Minnesota

Lawyers Mut. Ins. Co. v. Ahrens, 432 Fed. App'x 143, 147 (3d Cir. 2011) quoting Rosenau v.

Unifund Corp., 539 F.3d 218,221 (3d Cir. 2008).

          "The standard for deciding a motion for judgment on the pleadings filed pursuant to

Federal Rule of Civil Procedure 12(c) is not materially different from the standard for deciding a

motion to dismiss filed pursuant to Federal Rule of Civil Procedure 12(b)(6)." Zion v. Nassan,

283 F.R.D. 247,254 (W.O. Pa. 2012). Either motion may be used to seek the dismissal of a

complaint based on a plaintiffs "failure to state a claim upon which relief can be granted."

Fed.R.Civ.P. 12(b)(6), (h)(2)(B). The only difference between the two motions is that a Rule

12(b) motion must be made before a "responsive pleading" is filed, whereas a Rule 12(c) motion

can be made "[a]fter the pleadings are closed." A court presented with a motion for judgment on


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    The entirety of the Ordinance is also attached to this Memorandum Opinion.
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the pleadings must consider the plaintiffs complaint, the defendant's answer, and any written

instruments or exhibits attached to the pleadings. Perelman v. Perelman, 919 F.Supp.2d 512, 521

(E.D. Pa. 2013). See also 2 James Wm. Moore eta!., Moore's Federal Practice-Civil~ 12.38

(2010); Pension Benefit Guar. Corp. v. White Canso!. Indus. Inc., 998 F.2d 1192, 1196-97 (3d

Cir.1993) (court should consider the allegations in the pleadings, the attached exhibits, matters o

public record, and "undisputedly authentic" documents if plaintiffs claims are based on such

documents). Therefore, a review of the standard for a motion to dismiss is in order here.

        A motion to dismiss filed pursuant to Federal Rule of Civil Procedure 12(b)(6) must be

viewed in the light most favorable to the plaintiff and all the well-pleaded allegations of the

complaint must be accepted as true. Erickson v. Pardus, 551 U.S. 89, 93-94 (2007). A complaint

must be dismissed pursuant to Rule 12 (b)( 6) if it does not allege "enough facts to state a claim

to reliefthat is plausible on its face." Twombly, 550 U.S. at 570 (rejecting the traditional12

(b)(6) standard set forth in Conley v. Gibson, 355 U.S. 41 (1957)). See also Ashcroft v. Iqbal,

556 U.S. 662 (2009) (specifically applying Twombly analysis beyond the context of the Sherma

Act).

        A Court need not accept inferences drawn by a plaintiff if they are unsupported by the

facts as set forth in the complaint. See California Pub. Employee Ret. Sys. v. The Chubb Corp.,

394 F.3d 126, 143 (3d Cir. 2004) citing Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906

(3d Cir. 1997). Nor must the Court accept legal conclusions set forth as factual allegations.

Twombly, 550 U.S. at 555, citing Papasan v. Allain, 478 U.S. 265, 286 (1986). See also

McTernan v. City ofYork, Pennsylvania, 577 F.3d 521, 531 (3d Cir. 2009) ("The tenet that a

court must accept as true all of the allegations contained in a complaint is inapplicable to legal

conclusions."). A plaintiffs factual allegations "must be enough to raise a right to relief above

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the speculative level." Twombly, 550 U.S. at 556, citing 5 C. Wright & A. Miller, Federal

Practice and Procedure§ 1216, pp. 235-236 (3d ed. 2004). Although the United States Supreme

Court does "not require heightened fact pleading of specifics, [the Court does require] enough

facts to state a claim to relief that is plausible on its face." Id. at 570.

        In other words, at the motion to dismiss stage, a plaintiff is "required to make a 'showing'

rather than a blanket assertion of an entitlement to relief." Smith v. Sullivan, 2008 WL 482469,

at* 1 (D. Del.) quoting Phillips v. County of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008). "This

'does not impose a probability requirement at the pleading stage,' but instead 'simply calls for

enough facts to raise a reasonable expectation that discovery will reveal evidence of' the

necessary element." Phillips, 515 F.3d at 234, quoting Twombly, 550 U.S. at 556 n.3.

        The Third Circuit has expounded on the Twombly/lqballine of cases:

            To determine the sufficiency of a complaint under Twombly and Iqbal, we must take
            the following three steps:

            First, the court must 'tak[ e] note of the elements a plaintiff must plead to state a
            claim.' Second, the court should identify allegations that, 'because they are no more
            than conclusions, are not entitled to the assumption of truth.' Finally, 'where there
            are well-pleaded factual allegations, a court should assume their veracity and then
            determine whether they plausibly give rise to an entitlement for relief.'

Burtch v. Milberg Factors, Inc., 662 F.3d 212,221 (3d Cir. 2011) quoting Santiago v.

Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010).



            Defendant's Motion for Judgment on the Pleadings

        Defendant moves for judgment on the pleadings on its single counterclaim, which alleges

that by bringing this lawsuit challenging the constitutionality, validity and enforceability of the

Ordinance, PGE is violating the rights ofthe people of Grant Township to local community self-

government as secured by the American Declaration of Independence, the Pennsylvania
                                                     5
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Constitution, the federal constitutional framework, and the Community Bill of Rights Ordinance

itself. ECF No. 10 (emphasis added). Grant Township also alleges in this counterclaim that

corporations are incapable of possessing constitutionally based rights because they are property,

not persons; the doctrine of corporate rights violates the rights of the people of Grant Township

to local community self-governance and violates provisions of the Community Bill of Rights

Ordinance and is unconstitutional; and the doctrine of state preemption, when exercised to

constrict the assertion of local community self government to expand people's rights, is

unconstitutional. Id. at~~ 41-42, 44 (emphasis added). As relief, Defendant seeks declaratory

and injunctive relief, and fees. Id. at pages 29-30.

       In its motion for judgment on the pleadings as to this counterclaim, Defendant

summarizes its position:

               The right of local community self government is a fundamental individual
               political right- exercised collectively- of people to govern the local communitie
               in which they reside. The right includes three component rights -first, the right to
               a system of government within the local community that is controlled by a
               majority of its citizens; second, the right to a system of government within the
               local community that secures and protects the civil and political rights of every
               person in the community; and third, the right to alter or abolish the system of loca
               government if it infringes those component rights.

               The right of local community self government is inherent and inalienable. It
               derives necessarily from the fundamental principle that all political power is
               inherent in the people, is exercised by them for their benefit, and is subject to thei
               control. The right is secured by the Pennsylvania Constitution, the American
               Declaration of Independence, state constitutional bills of rights, and the United
               States Constitution. Because the right is inherent and inalienable, no government
               can define, diminish, or otherwise control it.

ECF No. 53, page 4 (italics in original).

       According to Defendant, the alleged right of local community self-government includes

the right of the people to change their system of government if it has been rendered incapable of

protecting their civil and political rights. Defendant explains that after" ... recognizing the
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existence of [certain] constraints on their own municipal government, the people of Grant

Township decided to change their system of government" and the people "did so through the

adoption of the Ordinance, which envisions a new system of local governance free of those

constraints." ECF No. 59, pages 1-2. Defendant further describes:

               The authority for the people of Grant Township to create that new system is
               rooted in their constitutional right to local community self government. Grounded
               in natural law, as well as the federal and state constitution, the right is most
               clearly described in the Pennsylvania Constitution when it recognizes that all
               political power 'is inherent in the people' who have an 'inalienable and
               indefeasible right to alter ... their government ... as they may think proper."
               Driscoll v. Corbett, 69 A.3d 197, 207-08 (Pa. 2013) (quoting PA. Const. Art. I,§
               2). The people of Grant Township have exercised that power by creating a local
               bill of rights, by prohibiting activities that would violate that bill of rights, and by
               protecting their bill of rights from competing corporate legal doctrines.



       Defendant claims the right to local community self government is deeply rooted in our

nation's history and tradition. ECF No. 53, page 9. In support of its alleged right to local

community self government, Defendant undertakes a lengthy examination of historical

documents such as the Mayflower Compact, the Exeter Compact of 1639, the Articles of

Confederation for the United Colonies of 1643, and the Declaration oflndependence, and

analyzes historical events leading up to the American Revolution, such as the Second

Continental Congress, the British Parliament's enactment of the Currency Acts in 1764, the

Stamp Act Riots in 1765, and the Boston Tea Party.

       Defendant seeks judgment upholding its Ordinance based solely upon these historical

events. Defendant provides no precedential statute or constitutional provision authorizing its

action other than its assertion that Plaintiff has no rights- from contracting to do business in

Grant Township to bringing a lawsuit to complain about an ordinance-- because it is not a

person. This view is contrary to over one hundred years of Supreme Court precedent that
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                                                                                                3
establishes that corporations are considered "persons" under the United States Constitution. In a

remarkably similar case in this district, District Judge Donetta Ambrose held:

               "Indeed, even if a District Court felt that the principal rationale underlying
               Supreme Court decisions were no longer valid, a district court is nevertheless
               bound to follow that precedent. See United States v. Extreme Assocs., Inc., 431
               F.3d 150, 155 (3d Cir. 2005) (reversing decision of district court based on district
               court's failure to follow Supreme Court precedent) cert. denied, 547 U.S. 1143
               (2006)."

Pennsylvania Ridge Coal LLC v. Blaine Township, C.A. No. 08-1452P, ECF No. 30 (April 8,

2009). More recently, a federal district court in New Mexico examined a local ordinance in the

face of several constitutional challenges and held:

            "they urge the Court to ignore Supreme Court precedent [ ... ] It is well established
           however, that corporations have constitutional rights, even ifthey are property.
           Supreme Court precedent well established these principles, and, as a United States
           District Court, this Court is bound to follow them. The Defendants' argument that
           corporations should not be granted constitutional rights, or that corporate rights
           should be subservient to people's rights, are arguments that are best made before the
           Supreme Court- the only court that can overrule Supreme Court precedent- rather
           than a district court."

Swepi, LP v. Mora County, New Mexico, 81 F.Supp.3d 1075, 1171-72 (D.N.M. Jan. 19, 2015)

(some internal citations omitted).




3
 See Citizens United v. Fed. Election Comm'n, 558 U.S. 310,342 (2010) (listing cases) ("[T]he
Court has recognized that First Amendment protection extends to corporations."); Metro. Life
Ins. Co. v. Ward, 470 U.S. 869,881 n.9 (1985) ("It is well established that a corporation is a
'person' within the meanings ofthe Fourteenth Amendment."); Minneapolis & St. Louis Ry. Co.
v. Beckwith, 129 U.S. 26,28 (1889) (applying Due Process Clause ofthe Fourteenth
Amendment) ("Corporations can invoke the benefits of provisions ofthe constitution and laws
which guaranty to persons the enjoyment of property, or afford to them the means for its
protection, or prohibit legislation affecting it."); First Nat' I Bank of Boston v. Bellotti, 435 U.S.
765 (1978) (holding corporations entitled to First Amendment protections); Trustees of
Dartmouth College v. Woodward, 17 U.S. 518 (1819) (applying Contract Clause to
corporations).
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        Defendant has provided no legal precedent to the contrary. Without a legal basis for its

actions, as opposed to historical documents and events, this Court cannot provide the relief Grant

Township seeks. Defendant's motion for judgment on the pleadings will be denied.



           Plaintiff's Motion for Judgment on the Pleadings

        As laid out in the Amended Complaint, Plaintiff raises thirteen separate causes of action.

Plaintiff claims the Ordinance, as a whole, violates the Supremacy Clause, the Equal Protection

Clause, the Petition Clause of the First Amendment, the Contract Clause, and both the

substantive and procedural components ofthe Due Process Clause ofthe United States

Constitution. Plaintiff also claims the entire Ordinance is preempted by Pennsylvania's Second

Class Township Code, the Oil and Gas Act, the Limited Liability Companies law, and the

Sunshine Act and violates state law as an impermissible exercise of police power and because it

is exclusionary. As relief, Plaintiff seeks declaratory judgments that the entire Community Bill o

Rights Ordinance is unconstitutional, violates state law and is preempted. It also seeks injunctive

relief against Grant Township, enjoining its enforcement of the full Ordinance. Finally, Plaintiff

seeks compensatory and consequential damages, fees and costs. 4




4
  Plaintiff moves for partial judgment on the pleadings. Plaintiff argues for judgment on its
federal claims that the Ordinance violates the Supremacy Clause (Count 1), the Equal Protection
Clause of the Fourteenth Amendment (Count II), and the Petition Clause of the First Amendment
(Count III). Plaintiff moves for judgment on its state law claims that the Ordinance is preempted
by Pennsylvania's Limited Liability Companies Law (Count XI), Pennsylvania's Oil and Gas
Act (Count IX), Pennsylvania's Second Class Township Code (Count VIII), that the Ordinance
is exclusionary (Count X) in violation of state law and that the Township exceeded its legislative
authority in enacting the Ordinance (Count VII). Plaintiff also moves for judgment on its
Declaratory Judgment claim (Count XIII). Plaintiff does not move for judgment as to its
substantive due process claim (Count IV), procedural due process claim (Count V), Contract
Clause claim (Count VI) or Sunshine Act claim (Count XII).
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       In its motion for judgment, Plaintiff asks the Court to invalidate the entire Ordinance as a

matter of law. See ECF No. 50-1, Proposed Order. Yet, when an analysis was made of Plaintiffs

motion and arguments side-by-side with a copy of the Ordinance, the whole ofthe Ordinance

was never attacked. Instead, the language of certain sections of the Ordinance was challenged

repeatedly as invalid and unenforceable; however, much of the Ordinance was never mentioned

or analyzed at all. A movant for judgment on the pleadings cannot skip analyzing all of the

provisions of an ordinance it seeks to invalidate as a whole.

        Moreover, the Court is not an advocate. It will not review those portions of an ordinance

not challenged by Plaintiff in its own motion and arguments. The Court did not undertake to

analyze the sections ofthe Ordinance that were not part of Plaintiffs motion. Likewise, the

Court did not transfer the ruling on the validity or invalidity of the analyzed provisions to cover

the whole of the Ordinance. The rulings made are explained below the same way they were

analyzed: first, the precise provision of the Community Bill of Rights Ordinance at issue is

listed, with its full text; second, each of Plaintiffs legal theories challenging that exact provision

is laid out; and third, the legal analysis as to the legality, enforceability and constitutionality (if

necessary) of that provision is made.

        Before proceeding through the challenged provisions of the Ordinance and each of

Plaintiffs attacks upon them, one additional issue must be addressed. Where a party raises both

statutory and constitutional arguments in support of a judgment, a federal court should first

consider whether the plaintiff is entitled to full relief under a statute, and if so, should refrain

from reaching the constitutional issue. See Spector Motor Service v. McLaughlin, 323 U.S. 101,

105 (1944) ("Ifthere is one doctrine more deeply rooted than any other in the process of

constitutional adjudication, it is that we ought not to pass on questions of constitutionality ...

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unless such adjudication is unavoidable."). Only if a plaintiff is not entitled to statutory relief,

then the constitutional claims are unavoidable and the federal court must address their merits.

See Department ofCommerce v. U.S. House of Representatives, 525 U.S. 316, 343 (1999)

(concluding that the Census Act prohibited use of statistical sampling in calculating the

population for purposes of apportionment, and "because we so conclude, we find it unnecessary

to reach the constitutional question presented."); Ashwander v. TVA, 297 U.S. 288, 347 (1936)

(Brandeis, J., concurring) (constitutional questions should not be decided unless "absolutely

necessary to a decision of the case"). Accordingly, this Court will conduct all the statutory

analyses before proceeding, if necessary, to any constitutional analysis.




     Section 3 - Statements of Law -Prohibitions Necessary to Secure the Bill of Rights

            (a) It shall be unlawful within Grant Township for any corporation
                or government to engage in the depositing of waste from oil and
                gas extraction.

            (b) No permit, license, privilege, charter, or other authority issued
                by any state or federal entity which would violate the prohibitions
                of this Ordinance or any rights secured by this Ordinance, the
                Pennsylvania Constitution, the United States Constitution, or
                other laws, shall be deemed valid within Grant Township.


        Plaintiff challenges Section 3 as:

                        1) unenforceable as it is preempted by Pennsylvania's Oil and
                        Gas Act;

                        2) unenforceable because Grant Township exceeded the scope of its
                        legislative authority under Pennsylvania's Second Class Township Code
                        in enacting the Ordinance; and

                        3) unenforceable as it is exclusionary in violation of state law.

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                             The Preemption Challenge to Section 3

        The preemption doctrine establishes a priority between potentially conflicting laws

enacted by various levels of government. Huntley & Huntley v. Borough Counsel of Borough of

Oakmont, 964 A.2d 855, 862-63 (Pa. 2009). 5 This doctrine provides that local legislation cannot

permit what a state statute forbids or prohibit what state enactments allow. Id. citing Liverpool

Township v. Stephens, 900 A.2d 1030 (Pa. Cmmw. Ct. 2006). At issue here is conflict

preemption which is "where the local enactment irreconcilably conflicts with or stands as an

obstacle to the execution ofthe full purposes ofthe statute." Hoffman Mining Co. v. Zoning

Hearing Board of Adams Township, 32 A.3d 587, 593-94 (Pa. 2011) (internal citations omitted).

In such a case, the court must conduct "an analysis of whether preemption is implied in or

implicit from the text of the whole statute, which may or may not include an express preemption

clause." Id.

        In the Amended Complaint, Plaintiff claims that the Ordinance is preempted by the

Pennsylvania Oil and Gas Act which exclusively and comprehensively regulates the

development of oil and gas within this Commonwealth. Plaintiff alleges that by the statute's

terms, 55 Pa.C.S. § 3302 ofthe Oil and Gas Act expressly "supersedes" all local ordinances

"purporting to regulate oil and gas operations" related to development unless those ordinances

are adopted pursuant to the Flood Plain Management Act or the Municipalities Planning Code.

ECF No.5, Count    IX,~~   83-92. This preemption analysis need not be undertaken as the statute

to which Plaintiff directly links its preemption challenge (55 Pa.C.S. § 3302) was held to be

5
  While conflict preemption, at issue herein, has traditionally been articulated to prohibit state
laws from standing in the way of Congress's objectives, it applies with equal force to municipal
laws whose operation might otherwise conflict with the objectives of the state legislature.
Huntley, 964 A.2d at 220 n.6.
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unconstitutional by the Pennsylvania Commonwealth Court in Robinson Township v.

Commonwealth, 96 AJd 1104 (Pa.Cmmw. Ct. 2014) after the Pennsylvania Supreme Court held

55 Pa.C.S. §§ 3303 and 3304 unconstitutional in Robinson Township, Washington County v.

Commonwealth, 83 A.3d 901 (Pa. 2013). Accordingly, this statutory provision of Pennsylvania's

Oil and Gas Act cannot preempt Section 3 (or any other provision) of the Community Bill of

Rights Ordinance. Plaintiffs motion for judgment on the pleadings will be denied as to Count IX

of the Amended Complaint.



                          The Scope ofAuthority Challenge to Section 3

        Next, Plaintiff alleges that Grant Township exceeded the scope of its authority in

violation of state law when it enacted the Ordinance prohibiting the depositing of waste materials

from oil and gas extraction (at Section 3(a)) and declaring that no permits or licenses awarded by

state or federal authorities will be deemed valid (at Section 3(b)). ECF No. 5, Count VII,~~ 68-

76. Plaintiff alleges that as a Second Class Township, Grant Township possesses only those

powers granted to it by the Pennsylvania General Assembly. Plaintiff alleges that because Grant

Township does not have a zoning ordinance, any authority to regulate UIC wells or injection of

oil and gas materials must originate from the Second Class Township Code and the Code does

not authorize Grant Township to take such action. Id. In its motion for judgment on the

pleadings, Plaintiff argues that Sections 3(a) and (b) are beyond the scope of the powers granted

to townships under the Code and, as such, the Ordinance is an impermissible exercise of Grant

Township's legislative authority and is therefore invalid and unenforceable. 6


6
 While Defendant argues that it is the people of Grant Township who enacted the Ordinance in
conjunction with the municipal entity of Grant Township, Defendant cites no authority for such a
proposition. Defendant argues that because the "people" of Grant Township enacted the
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       "A municipality is a creature of the state and thus necessarily subordinate to its creator,

and can exercise only such power as may be granted to it by the legislature." Twp. of Lyndhurst,

New Jersey v. Priceline.com, 657 F.3d 148, 156 (3d Cir. 2011). Consequently, municipal

corporations "possess only such powers of government as are expressly granted to [them] and as

are necessary to carry the same into effect." Appeal of Gagliardi, 163 A.2d 418, 419 (Pa. 1960)

(emphasis added). See also City of Philadelphia v. Schweiker, 858 A.2d 75, 84 (Pa. 2004).

       There is no state authority expressly granting a municipal government or its people the

authority to regulate the depositing of waste from oil and gas wells or to invalidate permits

granted by the state or federal government. Any provision enacted without underlying legislative

authority is invalid and unenforceable. Grant Township exceeded its legislative authority under

Pennsylvania's Second Class Township Code by enacting Sections 3(a) and (b) ofthe

Community Bill of Rights Ordinance, and accordingly, these Sections are invalid and

unenforceable.

Community Bill of Rights Ordinance, rather than Grant Township itself, the Second Class
Township Code is irrelevant to the power of the people to enact legislation. Defendant contends:

                 "The people's right of local community self government is not limited by the
                 powers granted to municipal corporations. The limited power of municipal
                 corporations is based on a legal doctrine known as Dillon's Rule, which declares
                 that municipal corporations derive their powers and rights wholly from state
                 government. Dillon's Rule thus applies only to the specific relationship between
                 municipal corporations and the State. In this case, Dillon's Rule is inapplicable
                 because the people of Grant Township adopted the Ordinance directly, in tandem
                 with the Grant Township municipal corporation. The Ordinance provides: 'We
                 the People of Grant Township hereby adopt this Community Bill of Rights
                 Ordinance.' This Ordinance also specifically established that the 'use of the
                 municipal corporation 'Grant Township' by the people for the making and
                 enforcement of this law shall not be deemed, by any authority, to eliminate, limit,
                 or reduce [the people's] sovereign right [to local self government].'"

ECF No. 59, page 12 (internal citations omitted). As there is no legal basis for this argument, it is
rejected here.

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                             The Exclusionary Challenge to Section 3

       Plaintiff also alleges that the Ordinance is exclusionary in violation of Pennsylvania law

that requires that a municipality authorize all legitimate uses somewhere within its boundaries.

Plaintiff argues that the Ordinance's outright ban on the injection and storage of oil and gas

materials within Grant Township (at Section 3(a) of the Ordinance) excludes legally permitted

uses within Grant Township. ECF No.5, Count X,~~ 93-97. Defendant has not contested

Plaintiffs argument that the Ordinance is exclusionary in violation of state law.

       Pennsylvania Jaw requires that a municipality authorize all legitimate uses somewhere

within its boundaries. Beaver Gasoline Co. v. Osborne Borough, 285 A.2d 501, 503-04 (Pa.

1971) ("The constitutionality of a zoning ordinance which totally prohibits legitimate uses or

fails to provide for such uses anywhere within the municipality should be regarded with

particular circumspection."). Although an ordinance is presumed valid, the presumption

disappears when an ordinance is de jure exclusionary. Id. at 504-05; Tri-County Landfill v. Pine

Twp. Zoning Hearing Bd., 83 A.3d 488, 518 (Pa. Cmmw. Ct. 2014). A de jure exclusion exists

where an ordinance, on its face, completely or effectively bans a legitimate use. Tri-County

Landfill, 83 A.3d at 518. Upon a showing that an ordinance is de jure exclusionary, the burden

shifts to the municipality to show that the "exclusionary regulation bears a substantial

relationship to the public health, safety, morality, or welfare." Twp. of Exeter v. Zoning Hearing

Bd., 962 A.2d 653, 661 (Pa. 2009).

       Here, Section 3(a) ofthe Ordinance proclaims that "it shall be unlawful within Grant

Township ... to engage in the depositing of waste from oil and gas extraction." ECF No.5- 1,

page 2. Although Defendant wishes it were not so, the development of oil and gas (which

                                                 IS
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necessarily includes the management of waste materials generated at a well site) is a legitimate

business activity and land use within Pennsylvania. See generally Oil & Gas Act, 58 Pa.C.S.

3301.

        Because Section 3(a) ofthe Ordinance, on its face, completely bans a legitimate use, the

Ordinance is de jure exclusionary. As Defendant has not opposed Plaintiffs motion in this

regard, judgment will be granted in favor of Plaintiff on Count X.




                                    Section 4- Enforcement

           (a) Any corporation or government that violates any provision of
               this Ordinance shall be guilty of an offense and, upon conviction
               thereof, shall be sentenced to pay the maximum fine allowable
               under State law for that violation. Each day or portion thereof,
               and violation of each section of this Ordinance, shall count as a
               separate violation.

           (b) Grant Township, or any resident of the Township, may enforce
               the rights and prohibitions of this Ordinance through an action
               brought in any court possessing jurisdiction over activities occurring
               within the Township, in such an action, the Township or the resident
               shall be entitled to recover all costs of litigation, expert and attorney's
               fees.

           (c) Any action brought by either a resident of Grant Township or by
               the Township to enforce or defend the natural rights of ecosystems
               or natural communities secured by this Ordinance shall bring that
               action in the name of the ecosystem or natural communities secured
               by this Ordinance shall bring that action in the name of the ecosystem
               or natural community in a court possession [sic] jurisdiction over
               activities occurring within the Township. Damages shall be measured
               by the cost of restoring the ecosystem or natural community to its
               state before the injury, and shall be paid to the Township to be used
               exclusively for the full and complete restoration of the ecosystem
               or natural community.


        Plaintiff challenges Section 4(b) and (c) as unenforceable because Grant Township
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exceeded the scope of its legislative authority under the Pennsylvania Second Class Township

Code by enacting the Ordinance.



                            The Scope ofAuthority Challenge to Section 4

       Plaintiff alleges that Grant Township exceeded the scope of its legislative authority in

violation of state law when it enacted Section 4 of the Ordinance. Plaintiff alleges that Section

4(b) and (c) purport to vest in Grant Township and all of its residents the power to enforce and

defend the rights and prohibitions of the Community Bill of Rights Ordinance, including the

rights to recover all costs of litigation, experts, and attorney's fees, regardless ofwhether Grant

Township and/or its residents succeed in such enforcement. Plaintiff alleges that Sections 4(b)

and (c) ofthe Ordinance are not within the scope ofthe powers granted to Grant Township by

the Code because the Ordinance attempts to create a legal cause of action in Grant Township

and its residents. Plaintiff alleges that as a Second Class Township, Grant Township possesses

only those powers granted to it by the Pennsylvania General Assembly and the statute does not

authorize Grant Township to create any cause of action in itself or its residents. ECF No. 5,

Count VII,   ~~   68-76. In its motion for judgment on the pleadings, Plaintiff argues that Sections

4(b) and (c) of the Ordinance are an impermissible exercise oflegislative authority and are

therefore invalid and unenforceable.

       Because local governments only possess the power "expressly granted" to them by state

government (Appeal of Gagliardi, 163 A.2d at 419) and because there is no authority for Grant

Township to create a cause of action for its residents to enforce an ordinance written on their

behalf, Section 4(b) and (c) were enacted beyond the scope of Grant Township's legislative

authority. Accordingly, these Sections are invalid and unenforceable.

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                        Section 5- Enforcement- Corporate Powers

          (a} Corporations that violate this Ordinance, or that seek to violate
              this Ordinance, shall not be deemed to be a "person," nor possess
              any other legal rights, privileges, powers, or protections which
              would interfere with the rights or prohibitions enumerated by
              this Ordinance. "Rights, privileges, powers, or protections" shall
              include the power to assert state or federal preemptive laws in
              an attempt to overturn this Ordinance, and the power to assert
              that the people of the municipality lack the authority to adopt
              this Ordinance.

           (b) All laws adopted by the legislature of the State ofPennsylvania,
               and rules adopted by any State agency, shall be the law of
               Grant Township only to the extent that the [sic] do not violate
               the rights or prohibitions of this Ordinance.


       Plaintiff challenges Section 5 as:

                      1) unenforceable as it is preempted by Pennsylvania's Limited Liability
                      Companies Law;

                      2) unenforceable as it is preempted by the Second Class Township Code;

                      3) violative ofthe Supremacy Clause ofthe U.S. Constitution;

                      4) violative ofthe Equal Protection Clause; and

                      5) violative ofthe Petition Clause of the First Amendment.



                            The Preemption Challenge to Section 5(a)

                        Pennsylvania's Limited Liability Companies Law

       Plaintiff alleges that the Ordinance, which purports to divest corporations of their rights

as "persons" is preempted by the Pennsylvania Limited Liability Companies Law. Plaintiff

alleges that by enacting the statute, the Commonwealth of Pennsylvania intended to preempt
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municipal regulation of a company's status as a natural person. Plaintiff alleges that Section 5(a)

purports to strip companies of their status as natural persons. ECF No.5, Count XI,~~ 98-102.
                                                                                                      7



        Pennsylvania's 15 Pa.C.S. § 8921(a) provides that LLCs "shall have the legal capacity of

natural persons to act," while Section 5(a) of the Ordinance purports to divest corporations of

their rights as "persons." The language of the two sections is precisely opposite of the other.

There is a direct conflict between these two provisions. Because it irreconcilably conflicts with

the Limited Liability Companies Law, Section 5(a) ofthe Community Bill of Rights Ordinance

cannot stand. See Western Pa. Restaurant Ass'n v. City of Pittsburgh, 77 A.2d 616, 620 (Pa.

1951) ("It is of course self-evident that a municipal ordinance cannot be sustained to the extent

that it is contradictory to, or inconsistent with, a state statute."). Accordingly, Section 5(a) is

unenforceable as preempted by state law.



                        The Preemption Challenge to Sections 5(a) and (b)

                                      Second Class Township Code

        Next, Plaintiff alleges that Sections 5( a) and (b) of the Ordinance are preempted by the

Second Class Township Code at 53 P.S. § 66506 which allows township supervisors to adopt

ordinances that are "not inconsistent with or restrained by the ... laws of this Commonwealth."

ECF No.5, Count     VIII,~   78, quoting 53 P.S. § 66506. Plaintiff alleges that the Second Class

Township Code regulates the remedies that may be utilized to challenge the legality of an

ordinance, providing that "any person aggrieved by the adoption of any ordinance may make


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  In opposition to the motion for judgment, Defendant makes the same argument as it has made t
each of Plaintiffs preemption claims: the doctrine of preemption should be ignored because the
source ofthe Ordinance is not municipal corporate power, but the alleged natural and inherent
right of local community self government. The Court has already rejected this unsupported
notion.
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complaint as to the legality of the ordinance to the court of common pleas." Id. at~~ 79-80,

citing 53 P.S. § 6660l(f). Plaintiff alleges that by purporting to strip violators ofthe Ordinance

of their right to make complaints to the court of common pleas, Sections 5(a) and (b) of the

Ordinance are in direct conflict with 53 P.S. § 6660l(f) ofthe Second Class Township Code. Id.

at~   82.

            Pennsylvania's 53 P.S. § 6660l(f) provides that those aggrieved by the adoption of any

local ordinance may challenge the legality of the ordinance to the court of common pleas. Here

the language of the Second Class Township Code is clear in its intent to provide legal recourse in

the courts of common pleas to those aggrieved by a local ordinance. Meanwhile, Section 5(a) of

the Community Bill of Rights Ordinance provides that violators of the Ordinance will not

"possess any other legal rights" including "the power to assert state or federal preemptive laws in

an attempt to overturn this Ordinance." By attempting to eliminate legal recourse to the court of

common pleas, Section 5(a) of the Ordinance is in direct conflict with the Second Class

Township Code and is therefore preempted.

            Section 5(b) of the Community Bill of Rights Ordinance provides that the rights and

prohibitions within the Ordinance shall trump "laws adopted by the legislature ofthe state of

Pennsylvania, and rules adopted by any State agency" in situations where there is a conflict

between state and local law. The can be no doubt that here the state statute at§ 66506 and the

local provision are diametrically opposed to each other. In such a situation, the state law

preempts the local Ordinance. Therefore, Section 5(b) of the Ordinance cannot stand as it is

preempted by the state law.




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                      The Federal Constitutional Challenges to Section 5(a)

       Plaintiff moves for judgment on the pleadings on its Supremacy Clause, Equal Protection

Clause, and Petition Clause challenges to the constitutionality of Section 5(a) of the Community

Bill of Rights Ordinance. However, because Section 5(a) of the Ordinance is preempted by both

Pennsylvania's Limited Liability Companies Act and the Second Class Township Code, this

Court need not undertake an analysis as to whether Section 5(a) also violates the Supremacy

Clause, the Equal Protection Clause or the First Amendment. See Spector Motor, 323 U.S. at

105.



       Conclusion

       For the reasons stated in this Memorandum Opinion, Defendant's motion for judgment

on the pleadings will be denied.

       Plaintiffs motion for judgment on the pleadings will be granted in part and denied in

part. Plaintiffs motion will be denied on the basis of preemption under the Oil & Gas Act.

Judgment will be granted in favor of Plaintiff in the following regards:

                   Because Sections 3(a) and (b) ofthe Community Bill of Rights Ordinance

                   were enacted without legal authority in violation ofthe Second Class

                   Township Code, these sections are invalid;

                   Because Sections 3(a) and (b) ofthe Community Bill of Rights Ordinance are

                   exclusionary in violation of Pennsylvania law, they are invalid;

                   Because Sections 4(b) and (c) ofthe Community Bill of Rights Ordinance

                   were enacted without legislative authority in violation ofthe Second Class

                   Township Code, these Sections are invalid;

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                  Because Section S(a) ofthe Community Bill of Rights Ordinance is

                  preempted by the Limited Liability Companies Law, this Section is invalid;

                  and

                  Because Sections 5(a) and (b) ofthe Community Bill of Rights Ordinance are

                  preempted by the Second Class Township Code, they are invalid.

       Based on the foregoing, Grant Township will be enjoined from enforcing Sections 3(a)

and (b), Sections 4(b) and (c), and Sections 5(a) and (b) ofthe Community Bill of Rights

Ordinance.



       An appropriate order will be entered.




                                                       Is/ Susan Paradise Baxter
                                                       SUSAN PARADISE BAXTER
                                                       United States Magistrate Judge

Dated: October 14, 2015




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